
*398OPINION.
Love:
The Commissioner concedes that he was in error in determining the depletion allowance for 1921, and in this respect admits the correctness of petitioner’s allegation. Accordingly the proper allowance for depletion is $598.54, which amount should be reflected in determining taxable income for 1921.
The remaining issue is whether petitioner is entitled to a deduction of $11,061.70 for the year 1921 on account of a loss of coal in place.
*399From the evidence adduced, however, we are unable to determine the cost, the March 1, 1913, value or amount of coal in place abandoned in 1921. Obviously, without these essential elements we can not determine the amount of the loss, if any, assuming that under the facts as stated a deductible loss was. otherwise sustained under section 234 (a) (4) of the Kevenue Act of 1921, and in this connection we pass no opinion. The Commissioner’s determination in this respect is, therefore, approved.

Judgment will be entered on 15 days' notice, under Bule 50.

